
{¶ 1} The discretionary appeal was accepted in this case and held for the decision in State v. Arnold, 126 Ohio St.3d 290, 2010-Ohio-2742, 933 N.E.2d 775.
{¶ 2} We are unable to determine from the court of appeals’ opinion whether the juvenile court erroneously admitted statements made by the child victim to the child advocacy center intake social worker. It is uncertain whether the statements were made for forensic or medical purposes and, if the statements were made for forensic purposes, whether their admission was harmless error. Accordingly, the portion of the court of appeals’ judgment with respect to appellant T.L.’s first and second assignments of error is vacated, and the cause is remanded to the court of appeals for further proceedings consistent with State v. Arnold.
Pfeifer, Lundberg Stratton, O’Connor, Lanzinger, and Cupp, JJ., concur.
Brown, C.J., concurs in judgment only.
